Case 05-60776-GMB          Doc 15-1 Filed 07/11/06 Entered 07/11/06 15:14:51                 Desc
                                Certification Page 1 of 1



Thomas E. Dowey, Esquire
1423 Tilton Road Suite 8
Northfield, N.J. 08225
Attorney for Debtor
______________________________________________________________________________
                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW JERSEY

IN RE: Ellen Camp                                    Case No.: 06-60776
       Denise L. Hinkelman                                 Chapter 13

                              OBJECTION TO PROOF OF CLAIM

TO: Isabel Balboa                                    New Century Financial Services Inc.
.    Cherry Tree Corporate Center                    C/O Presler & Presler
    535 Route 38, Suite 580                          16 Wing Dr.
    Cherry Hill, New Jersey 08002                    Cedar Knolls, N.J. 07927

       Debtor, Ellen Camp by and through counsel for Debtors, Thomas E. Dowey, Esquire,

hereby object to the Proof of Claim filed by creditor New Century Financial Services, Inc.

Debtor objects upon the following grounds:

       1. The Debtor filed for bankruptcy relief under Chapter 13 on 12/18/05.

       2. The deadline to file a proof of claim in this case was 4/13/2006.

       3. Creditor, New Century Financial Services, Inc. Filed a proof of claim on 4/24/2006.

       4. The Debtor objects to this proof of claim because it was filed too late.

       WHEREFORE, Ellen Camp, said debtor, prays that said claim of New Century Financial

Services, Inc. be disallowed and expunged.

                                             Respectfully Submitted,
                                             /s/Thomas E. Dowey
                                             Thomas E. Dowey, Esquire
